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lN THE UNITEI) STATES I)ISTRICT COURT y , _ _
FOR THE WESTERN DISTRICT OF TENNESSEE §§ my ._3 ppg w 59
WESTERN DIVlSlON _ _

 

 

SHARON MABON,
Plaintiff,
vs.

No. 03-2879-D/P

MEMPHIS CITY GOVERNMENT, et al.,

\_V\./\_¢Wv\_/\,’W`/

Defendants.

 

ORDER GRANTING THE CITY OF MEMPHIS’ MOTION AND
MEMORANDUM TO EXCEED THE MEMORANDUM PAGE LIMIT
ESTABLISHED BY LOCAL RULE 7.2(e) FOR DEFENDANT’S
MEMORANDUM IN SUPPORT OF ITS MOTION FOR SUMMARY
JUDGMENT

 

This matter is before the Court on the City of Memphis’ l\/lotion to Exceed the
Memorandum Page Limit Established by Local Rule 7.2(e) for the City’s l\/lemorandum
in Support of its l\/Iotion for Summary Judgment. Al’ter consideration of this motion and
t`or good cause shown, the City of Memphis is permitted to exceed the page limitation
established by local rule and file its memorandum, not to exceed thirty-five (35) pages in
length.

IT IS SO ORDERED.

"J' DGE

j)/IM, S,MOJ`/

DATEL d

 

This document entered on the docket sheet in‘compl|ancs "
w1th Rule SB`anci/or ?`9(3) FHCP on '

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ESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

